             Case 2:18-cv-03578-MMB Document 12 Filed 10/01/18 Page 1 of 1               ,·



                          IN THE VNITED STATES DISTRICT COURT
                       FOR THE EASTJ<:RN DISTRICT OF PENNSYLVANIA


CARRIE YOUSE and MARK YOUSE, w/h                             CIVIL ACTIO;'J

                               Plaintiffs,                   J\.'O. 2: 18-cv-03578-MMB

                  V.


JOHNSON & JOHNSO;'J, et al.,                                 ASBESTOS CASE

                               Defendants.                   JCR Y TRIAL DEMAJ\.'DED

                                               ORDER

         A~D NOW, on this_         lST       _day of   Defvber___ , 2018, upon consideration
of the Uncontested Motion of Defendant, lmerys Talc America, Inc., for an Extension to file an ·

Answer or Present Other Defenses or Objections to the Amended Complaint, and any response

thereto, it is hereby ORDERED and DECREED that Defendant's \1otion is GRANTED.

Defendant Imerys Talc America, Inc., shall have until October 11, 2018, to file an answer or

present other defenses or objections to the Amended Complaint.



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                                                              Michael M. Bayls   , J.




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